Case 2:18-cv-02217-SJO-FFM  Document
                        UNITED STATES61 DISTRICT
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CASE NO.: CV 18-02217 SJO (FFM)                          DATE: June 15, 2018
TITLE:        Stephanie Clifford v. Donald J. Trump et al.

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PRESENT: THE HONORABLE S. JAMES OTERO, UNITED STATES DISTRICT JUDGE

Victor Paul Cruz                                         Not Present
Courtroom Clerk                                          Court Reporter

COUNSEL PRESENT FOR PLAINTIFFS:                          COUNSEL PRESENT FOR DEFENDANTS:

Not Present                                              Not Present

========================================================================
PROCEEDINGS (in chambers): ORDER SETTING BRIEFING SCHEDULE ON DEFENDANT
MICHAEL COHEN'S EX PARTE APPLICATION FOR RESTRAINING ORDER [Docket No. 60]

This matter is before the Court on Defendant Michael Cohen's ("Mr. Cohen" or "Defendant") Ex
Parte Application for Restraining Order ("Application"), filed June 14, 2018. Defendant has not
demonstrated in the Application that immediate, irreparable injury would occur in the absence of
emergency ex parte relief. See Mission Power Eng'g Co. v. Cont'l Cas. Co., 883 F. Supp. 488,
492 (C.D. Cal. 1995) (to justify ex parte relief, "the evidence must show that the moving party's
cause will be irreparably prejudiced if the underlying motion is heard according to regular noticed
motion procedures").1 Accordingly, the Court sets the following briefing schedule: opposition due
June 25, 2018, reply due July 2, 2018.

IT IS SO ORDERED.




   1
     The parties are reminded that the initial standing order of this Court clearly states that "[e]x parte
   applications are solely for extraordinary relief and are discouraged." (Initial Standing Order ¶ 30,
   ECF No. 11.) This is because:

          Ex parte applications throw the system out of whack. They impose an unnecessary
          administrative burden on the court and an unnecessary adversarial burden on
          opposing counsel who are required to make a hurried response under pressure,
          usually for no good reason. They demand priority consideration, where such
          consideration is seldom deserved. In effect, they put the applicant "ahead of the
          pack," without cause or justification. Ex parte applications are not intended to save
          the day for parties who have failed to present requests when they should have, and
          should not be used as a way to "cut in line" ahead of those litigants awaiting
          determination of their properly noticed and timely filed motions.

   In re Intermagnetics Am., Inc., 101 B.R. 191, 193 (C.D. Cal 1989). Any ex parte application must
   clearly demonstrate why and how emergency relief is warranted.
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